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PATRICIA S. DODSZUWEIT           UNITED STATES COURT OF APPEALS                   TELEPHONE
                                           FOR THE THIRD CIRCUIT                 215-597-2995
         CLERK                       21400 UNITED STATES COURTHOUSE
                                            601 MARKET STREET
                                        PHILADELPHIA, PA 19106-1790
                                     Website: www.ca3.uscourts.gov

                                            April 15, 2025



Clair E. Wischusen
Gordon & Rees
277 S Washington Street
Suite 550
Alexandria, VA 22314


RE: Atlas Data Privacy Corp, et al v. Nuwber Inc
Case Number: 25-1581
District Court Case Number: 1:24-cv-04609

Dear Counsel:

Pursuant to our docketing letter dated March 31, 2025, you were requested
electronically file or complete the following in the above-entitled case:

Concise Summary of the Case
Information Statement
Transcript Purchase Order Form


The above listed forms must be completed within fourteen (14) days of the date of
this letter. The forms are available at this court's website.

IF YOU FAIL TO COMPLY, THE CASE WILL BE DISMISSED PURSUANT
TO 3d Cir. L.A.R MISC. 107.1(b) and/or 107.2(a).

Very truly yours,
Patricia S. Dodszuweit, Clerk
        Case: 25-1581   Document: 26   Page: 2   Date Filed: 04/15/2025




By: s/Laurie
Case Manager
267-299-4936
cc: David Boies, Esq.
Kashif T. Chand, Esq.
Liza B. Fleming, Esq.
Mark C. Mao, Esq.
Eric M. Palmer, Esq.
Rajiv D. Parikh, Esq.
Samantha D. Parrish, Esq.
Adam R. Shaw, Esq.
Michael L. Zuckerman, Esq.
